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 6                                  UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA
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 9     UNION PACIFIC RAILROAD COMPANY, Case No. 3:17-cv-00477-LRH-CLB
       a Delaware corporation,
10                                          ORDER
                                 Plaintiff,
11
               v.
12
       WINECUP RANCH, LLC, an Idaho Limited
13     Liability Company; and WINECUP
       GAMBLE, INC., a Nevada corporation; and
14     PAUL FIREMAN, an individual,
15                                         Defendants,
16

17           On June 8, 2020, the court granted Union Pacific Railroad Company’s (“Union Pacific”)

18    motion for leave to file two replies to three of its motions in limine. ECF No. 177. In part, this was

19    granted because Winecup Ranch, LLC, Winecup Gamble, Inc., and Paul Fireman (collectively

20    “Winecup Gamble”) did not oppose the motion. On June 12, 2020, Winecup Gamble filed a reply

21    to its first motion in limine. ECF No. 182. This was inadvertently filed, as replies to motions in

22    limine without leave of the court are not permitted, and Winecup Gamble subsequently motioned

23    to withdraw its reply on June 15, 2020. ECF No. 184. Accordingly, on the same day, Winecup

24    Gamble filed its motion for leave to file a reply to its first motion in limine. ECF No. 183.

25           Union Pacific indicated that it would not oppose a request by Winecup Gamble to file a

26    reply (see ECF No. 174 at 3); therefore, IT IS ORDERED that Winecup Gamble’s motion for

27    leave to file a reply to its first motion in limine (ECF No. 183) and its motion to withdraw its reply

28    (ECF No. 184) are DENIED as moot, and the court will consider its reply as filed (ECF No. 182).
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 1            The court has reviewed the pending motions in limine and for Daubert hearings and hereby

 2    approves oral argument upon the following at the upcoming June 25, 2020 hearing:

 3        •   Union Pacific’s Fifth and Sixth Motion in Limine (ECF No. 139)

 4        •   Union Pacific’s Seventh Motion in Limine (ECF No. 124)

 5        •   Winecup Gamble’s First Motion in Limine (ECF No. 141)

 6        •   No oral argument shall be permitted on motions not listed above, and the court finds that

 7            an evidentiary hearing is not required at this time.

 8    Accordingly, Union Pacific’s motion for a hearing schedule and evidentiary Daubert hearing (ECF

 9    No. 137) is GRANTED in part and DENIED in part, and Winecup Gamble’s motion for oral

10    argument hearing (ECF No. 180) is GRANTED in part and DENIED in part. The court approves

11    the parties’ request that this hearing be held via ZOOM video conferencing, and Courtroom

12    Deputy, Katie Ogden, will provide the parties with instructions.

13            IT IS FURTHER ORDERED that the parties are to seek leave of the court before filing

14    any additional motions in limine.

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16            IT IS SO ORDERED.

17            DATED this 17th day of June, 2020.

18                                                          LARRY R. HICKS
                                                            UNITED STATES DISTRICT JUDGE
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